                 Case 16-04940               Doc 1    Filed 02/16/16 Entered 02/16/16 16:54:55                         Desc Main
                                                        Document     Page 1 of 72
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
     Northern District
     __________        of Illinois
                 District  of __________

     Case number (If known): _________________________ Chapter you are filing under:
                                                          ✔ Chapter 7
                                                          
                                                           Chapter 11
                                                           Chapter 12
                                                           Chapter 13                                                 Check if this is an
                                                                                                                         amended filing


                 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                      12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                        Dorothy
                                        __________________________________________________       __________________________________________________
                                        First name                                               First name
       identification (for example,
       your driver’s license or         __________________________________________________       __________________________________________________
       passport).                       Middle name                                              Middle name

       Bring your picture               McKinnie
                                        __________________________________________________       __________________________________________________
       identification to your meeting   Last name                                                Last name
       with the trustee.                ___________________________                              ___________________________
                                        Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)




2.     All other names you              __________________________________________________       __________________________________________________
       have used in the last 8          First name                                               First name
       years
                                        __________________________________________________       __________________________________________________
       Include your married or          Middle name                                              Middle name
       maiden names.                    __________________________________________________       __________________________________________________
                                        Last name                                                Last name

                                        __________________________________________________       __________________________________________________
                                        First name                                               First name

                                        __________________________________________________       __________________________________________________
                                        Middle name                                              Middle name

                                        __________________________________________________       __________________________________________________
                                        Last name                                                Last name




3.     Only the last 4 digits of
       your Social Security             xxx             9 ____
                                               – xx – ____  8 ____
                                                                3 ____
                                                                   6                            xxx    – xx – ____ ____ ____ ____
       number or federal                OR                                                      OR
       Individual Taxpayer
       Identification number            9 xx – xx – ____ ____ ____ ____                         9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1      Dorothy                       McKinnie
              _______________________________________________________           Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                        
                                         ✔ I have not used any business names or EINs.              I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in              _________________________________________________         _________________________________________________
     the last 8 years                    Business name                                             Business name

     Include trade names and
                                         _________________________________________________         _________________________________________________
     doing business as names             Business name                                             Business name


                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                     ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                       EIN

                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                     ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                       EIN




5.   Where you live                                                                                If Debtor 2 lives at a different address:



                                         3145 N. Oak Park Ave.
                                         _________________________________________________         _________________________________________________
                                         Number     Street                                         Number     Street


                                         _________________________________________________         _________________________________________________


                                         Chicago                          IL      60634
                                         _________________________________________________         _________________________________________________
                                         City                            State   ZIP Code          City                            State   ZIP Code

                                         Cook
                                         _________________________________________________         _________________________________________________
                                         County                                                    County


                                         If your mailing address is different from the one         If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send     yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.               any notices to this mailing address.


                                         _________________________________________________         _________________________________________________
                                         Number     Street                                         Number     Street

                                         _________________________________________________         _________________________________________________
                                         P.O. Box                                                  P.O. Box

                                         _________________________________________________         _________________________________________________
                                         City                            State   ZIP Code          City                            State   ZIP Code




6.   Why you are choosing                Check one:                                                Check one:
     this district to file for
                                         ✔ Over the last 180 days before filing this petition,
                                                                                                   Over the last 180 days before filing this petition,
     bankruptcy
                                            I have lived in this district longer than in any           I have lived in this district longer than in any
                                            other district.                                            other district.

                                          I have another reason. Explain.                          I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                    (See 28 U.S.C. § 1408.)
                                            ________________________________________                   ________________________________________
                                            ________________________________________                   ________________________________________
                                            ________________________________________                   ________________________________________
                                            ________________________________________                   ________________________________________



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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Debtor 1      Dorothy                              McKinnie
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file               ✔ Chapter 7
      under
                                         
                                          Chapter 11
                                          Chapter 12
                                          Chapter 13

8.    How you will pay the fee           ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                 ✔ No
                                         
      bankruptcy within the
      last 8 years?                       Yes.    District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY



10.   Are any bankruptcy                 
                                         ✔ No
      cases pending or being
      filed by a spouse who is            Yes.    Debtor _________________________________________________ Relationship to you       _____________________
      not filing this case with                    District __________________________ When      _______________ Case number, if known____________________
      you, or by a business                                                                      MM / DD / YYYY
      partner, or by an
      affiliate?
                                                   Debtor _________________________________________________ Relationship to you       _____________________

                                                   District __________________________ When      _______________ Case number, if known____________________
                                                                                                 MM / DD / YYYY



11.   Do you rent your                   ✔ No.
                                                  Go to line 12.
      residence?                          Yes.    Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                   residence?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.



Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1         Dorothy                       McKinnie
                _______________________________________________________           Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                 No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
                                                ✔
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______          ____________________
                                                                                  City                                     State            ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1         Dorothy                                McKinnie
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.                            ✔ I received a briefing from an approved credit
                                                                                                                I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1        Dorothy                               McKinnie
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts?Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                ✔   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       ✔ No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                               
                                           ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           8   ______________________________________________              8_____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1      Dorothy                              McKinnie
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        8_________________________________                                  Date           _________________
                                           Signature of Attorney for Debtor                                                MM    /    DD / YYYY




                                           Charles W. Brace
                                           _________________________________________________________________________________________________
                                           Printed name

                                            Law Offices of Charles W. Brace, P.C.
                                           _________________________________________________________________________________________________
                                           Firm name

                                            150 N. Michigan Ave.
                                           _________________________________________________________________________________________________
                                           Number Street

                                           Ste. 2800
                                           _________________________________________________________________________________________________

                                           Chicago
                                           ______________________________________________________  IL
                                                                                                  ____________ 60601
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                          (312) 782-0123
                                           Contact phone _____________________________________             Email address   bracelaw@gmail.com
                                                                                                                            ______________________________




                                           6224532
                                           ______________________________________________________  IL
                                                                                                  ____________
                                           Bar number                                             State




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Debtor 1     Dorothy                       McKinnie
             _______________________________________________________           Case number (if known)_____________________________________
             First Name   Middle Name            Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                             No
                                        ✔
                                             Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                             No
                                        
                                        ✔     Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        ✔
                                             No
                                             Yes. Name of Person_____________________________________________________________________.
                                                   Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        8
                                        _______________________________________________               8______________________________
                                            Signature of Debtor 1                                       Signature of Debtor 2

                                        Date                 _________________                          Date            _________________
                                                             MM / DD / YYYY                                             MM / DD / YYYY

                                                       (773) 672-9275
                                        Contact phone ______________________________________            Contact phone   ________________________________

                                        Cell phone           ______________________________________     Cell phone      ________________________________

                                        Email address dorothymckinnie@icloud.com
                                                      ______________________________________            Email address   ________________________________



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 Fill in this information to identify your case:

 Debtor 1          Dorothy                                     McKinnie
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                      District of __________

 Case number         ___________________________________________                                                                                                             Check if this is an
                     (If known)                                                                                                                                                amended filing



                         106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                  157,000.00
                                                                                                                                                                            $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    29,170.00
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                  186,170.00
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                  169,809.76
                                                                                                                                                                            $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +          32,362.00
                                                                                                                                                                            $ ________________


                                                                                                                                       Your total liabilities                     202,171.76
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                    3,148.42
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                      3,126.00
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                    Case 16-04940                Doc 1        Filed 02/16/16 Entered 02/16/16 16:54:55                             Desc Main
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   Debtor 1        Dorothy                                    McKinnie
                   _______________________________________________________                            Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       ✔ Yes
       

   7. What kind of debt do you have?

        Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       3,816.65
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



       9d. Student loans. (Copy line 6f.)                                                                                10,467.00
                                                                                                               $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



       9g. Total. Add lines 9a through 9f.                                                                               10,467.00
                                                                                                               $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                    Case 16-04940              Doc 1            Filed 02/16/16 Entered 02/16/16 16:54:55                         Desc Main
                                                                 Document     Page 11 of 72
Fill in this information to identify your case and this filing:


Debtor 1           Dorothy                                    McKinnie
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        __________
United States Bankruptcy Court for the: Northern     District
                                                 District     of ___________
                                                          of Illinois

Case number         ___________________________________________
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing

                        106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    ✔
        Yes. Where is the property?
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                  ✔ Single-family home
                                                                                                                   the amount of any secured claims on Schedule D:
            3145 N. Oak Park Ave.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                   Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                   Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
                                                                   Land                                                 157,000.00
                                                                                                                    $________________            157,000.00
                                                                                                                                             $_______________
                                                                   Investment property
             Chicago                  IL     60634
             _________________________________________
             City                    State   ZIP Code
                                                                   Timeshare                                       Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
                                                                   Other __________________________________        the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                                                                    __________________________________________
             Cook                                                 
                                                                   Debtor 1 only
             _________________________________________
             County                                               
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                        (see instructions)
                                                                  
                                                                   At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________
    If you own or have more than one, list here:
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                                                                    Creditors Who Have Claims Secured by Property.

                                                                    Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                    Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.    __________________________________________

                                                                 
                                                                  Debtor 1 only
             ________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                 
                                                                  At least one of the debtors and another               (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


Official Form 106A/B                                              Schedule A/B: Property                                                             page 1
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Debtor 1       Dorothy                                     McKinnie
                                                      Document
                _______________________________________________________                 Page 12 ofCase
                                                                                                   72 number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                     Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description          Duplex or multi-unit building
                                                                     Condominium or cooperative                         Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
            ________________________________________                 Manufactured or mobile home
                                                                     Land                                               $________________         $_________________

            ________________________________________
                                                                     Investment property
            City                    State   ZIP Code                 Timeshare                                          Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                     Other __________________________________           the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________              
                                                                   Debtor 1 only
            County
                                                                  
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                  
                                                                   At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                      157,000.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................Î




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   ✔ Yes
   

   3.1.     Make:                       Hyundai
                                       ______________             Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put

            Model:                      Elantra
                                       ______________
                                                                  ✔ Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                        2016                      Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
                                 2000                                                                                    entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                                                                                20,000.00                 20,000.00
                                                                   Check if this is community property (see             $________________         $________________
                                                                      instructions)



   If you own or have more than one, describe here:

   3.2.     Make:                       Chrysler
                                       ______________             Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put

            Model:                      PT Cruiser
                                       ______________
                                                                  ✔ Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                        2008                      Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the      Current value of the
                                 60000                                                                                   entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                                                                                 7,000.00                  7,000.00
                                                                   Check if this is community property (see             $________________         $________________
                                                                      instructions)




                                                   Schedule A/B: Property                                                                  page 2
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Debtor 1         Dorothy                                     McKinnie
                                                        Document
                  _______________________________________________________                               Page 13 ofCase
                                                                                                                   72 number (if known)_____________________________________
                  First Name         Middle Name                Last Name




            Make:                           ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                          ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:                           ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
            Approximate mileage: ____________                               
                                                                             At least one of the debtors and another
            Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


            Make:                           ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                          ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:                           ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
            Approximate mileage: ____________                               
                                                                             At least one of the debtors and another
            Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ✔ No
   
    Yes

            Make:       ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                     
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:       ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
            Other information:                                              
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                     
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:       ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      Current value of the
                                                                                                                                                      entire property?
                                                                                                                                                                                      Current value of the
                                                                                                                                                                                      portion you own?
            Other information:                                              
                                                                             At least one of the debtors and another


                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                          27,000.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ Î




                                                              Schedule A/B: Property                                                                                         page 3
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                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   ✔    Yes. Describe. ........          Living room set, Bedroom set, Dining room set                                                                                                                     1,000.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   ✔    Yes. Describe. .........         Television, Computer,                                                                                                                                               550.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No
    Yes. Describe. .........                                                                                                                                                                                  0.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                               0.00
                                                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔  No
     Yes. Describe. ..........                                                                                                                                                                                0.00
                                                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   ✔    Yes. Describe. ..........        Everyday clothing                                                                                                                                                   400.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   ✔    No
       Yes. Describe. ..........                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                              1,950.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... Î



                                                                      Schedule A/B: Property                                                                                                 page 4
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Debtor 1          Dorothy                                     McKinnie
                                                         Document
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                                                                                                                                          72 number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
 ✔
     Yes ................................................................................................................................................................    Cash: .......................                 20.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            Chase Bank
                                                                                               _________________________________________________________                                                                     200.00
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   ✔ No
                                           Name of entity:                                                                                                                     % of ownership:
   
     Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




                                                                              Schedule A/B: Property                                                                                                          page 5
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Debtor 1        Dorothy                                     McKinnie
                                                       Document
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                                                                                                           72 number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 
   Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________                 $__________________
                                        ______________________________________________________________________________________
                                                                                                                                               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   ✔
      No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________          $__________________

                                        Pension plan:             ___________________________________________________________________          $__________________

                                        IRA:                      ___________________________________________________________________          $__________________

                                        Retirement account:       ___________________________________________________________________          $__________________

                                        Keogh:                    ___________________________________________________________________          $__________________

                                        Additional account:       ___________________________________________________________________          $__________________

                                        Additional account:       ___________________________________________________________________          $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________           $___________________
                                        Gas:                  ______________________________________________________________________           $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                               $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                               $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                               $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                               $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                               $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                               $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                               $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________               $__________________
                                        _______________________________________________________________________________________                $__________________
                                        _______________________________________________________________________________________                $__________________


                                                            Schedule A/B: Property                                                         page 6
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                                                                                                        72 number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ✔
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ✔
      No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ✔
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ✔
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



                                                            Schedule A/B: Property                                                                page 7
                    Case 16-04940                           Doc 1              Filed 02/16/16                       Entered 02/16/16 16:54:55 Desc Main
Debtor 1          Dorothy                                     McKinnie
                                                         Document
                   _______________________________________________________                                         Page 18 ofCase
                                                                                                                              72 number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   ✔
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .................................................................................................................................................... Î                   220.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                  $_____________________



                                                                      Schedule A/B: Property                                                                                                 page 8
                    Case 16-04940                           Doc 1              Filed 02/16/16                       Entered 02/16/16 16:54:55 Desc Main
Debtor 1          Dorothy                                     McKinnie
                                                         Document
                   _______________________________________________________                                         Page 19 ofCase
                                                                                                                              72 number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
       No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                            $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... Î




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ✔ No. Go to Part 7.
   
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



                                                                      Schedule A/B: Property                                                                                                 page 9
                       Case 16-04940                            Doc 1               Filed 02/16/16                       Entered 02/16/16 16:54:55 Desc Main
 Debtor 1            Dorothy                                     McKinnie
                                                            Document
                      _______________________________________________________                                           Page 20 ofCase
                                                                                                                                   72 number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... Î



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ✔
          No
          Yes. Give specific
                                                                                                                                                                                                           $________________
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. Î
                                                                                                                                                                                                                        0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. Î
                                                                                                                                                                                                               157,000.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                         27,000.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                   1,950.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                                 220.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                          0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                 0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
62. Total personal property. Add lines 56 through 61. ....................                                               29,170.00 Copy personal property total Î
                                                                                                                  $________________                                                                               29,170.00
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                     186,170.00
                                                                                                                                                                                                          $_________________



                                                                           Schedule A/B: Property                                                                                                   page 10
                  Case 16-04940               Doc 1         Filed 02/16/16 Entered 02/16/16 16:54:55                                 Desc Main
                                                             Document     Page 21 of 72
Fill in this information to identify your case:

 Debtor 1           Dorothy                                    McKinnie
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                       District of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



                         106C
Schedule C: The Property You Claim as Exempt                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     ✔ You are claiming state and federal nonbankruptcy exemptions.
                                                                                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:            Home
                             _________________________       157,000.00
                                                            $________________            ✔ $ ____________
                                                                                            11,455.00                           735 ILCS 5/12-901
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    1.1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:            Living room set
                             _________________________       500.00
                                                            $________________            ✔ $ ____________
                                                                                            500.00                              735 ILCS 5/12-1001(b)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______
                    6                                                                       any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:            Dining room set
                             _________________________       300.00
                                                            $________________            ✔ $ ____________
                                                                                            300.00                              735 ILCS 5/12-1001(b)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________
                    6

 3. Are you claiming a homestead exemption of more than $155,675?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                     page 1 of __
              Case 16-04940                   Doc 1      Filed 02/16/16 Entered 02/16/16 16:54:55 Desc Main
Debtor 1       Dorothy                                    Document
                                                          McKinnie
              _______________________________________________________  Page 22 ofCase
                                                                                  72 number (if known)_____________________________________
              First Name        Middle Name      Last Name




  Part 2:    Additional Page

       Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
       on Schedule A/B that lists this property          portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B

      Brief
                                                                                ✔ $ ____________                        735 ILCS 5/12-1001(b)
                                                                                                                        ____________________________
      description:
                            Bedroom set
                           _________________________               200.00
                                                         $________________              200.00                         ____________________________
      Line from     6
                    ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             735 ILCS 5/12-1001(b)
                                                                                                                        ____________________________
      description:          Television
                           _________________________               250.00
                                                         $________________      
                                                                                ✔ $ ____________
                                                                                         250.00                         ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
      Schedule A/B:
                    7
                    ______                                                         any applicable statutory limit       ____________________________


      Brief
                                                                                ✔ $ ____________                        735 ILCS 5/12-1001(b)
                                                                                                                        ____________________________
      description:
                            Computer
                           _________________________               300.00
                                                         $________________              300.00
                                                                                                                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    7
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief
                                                                                ✔ $ ____________                        735 ILCS 5/12-1001(b)
                                                                                                                        ____________________________
      description:
                            Cash
                           _________________________                20.00
                                                         $________________                20.00
                                                                                                                        ____________________________
      Line from     16
                    ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief
                                                                                ✔ $ ____________                        735 ILCS 5/12-1001(b)
                                                                                                                        ____________________________
      description:
                            Checking Account
                           _________________________               200.00
                                                         $________________              200.00
                                                                                                                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
      Schedule A/B:
                    17
                    ______                                                         any applicable statutory limit       ____________________________


      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
      Schedule A/B: ______                                                         any applicable statutory limit


      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
      Schedule A/B: ______                                                         any applicable statutory limit


      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:


                                          Schedule C: The Property You Claim as Exempt                                       page ___  2
                                                                                                                                               2 of __
                    Case 16-04940                  Doc 1          Filed 02/16/16 Entered 02/16/16 16:54:55                                        Desc Main
                                                                   Document     Page 23 of 72
Fill in this information to identify your case:

 Debtor 1          Dorothy                                     McKinnie
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                      District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             104,000.00 $________________
                                                                                                                                               157,000.00 $____________
                                                                                                                                                                 0.00
       Wells Fargo Home Mortgage
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       7255 Baymeadows Way
      ______________________________________
                                                           3145 N. Oak Park Ave. Chicago, IL 60634
      Number            Street

       P.O. Box 10355                                      As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       DesMoines             IA 50306
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  ✔
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                              41,545.00 $________________
                                                                                                                                               157,000.00 $____________
                                                                                                                                                                 0.00
       Wells Fargo Home Mortgage
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       3476 Statview Blvd.
      ______________________________________
                                                           3145 N. Oak Park Ave. Chicago, IL 60634
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       Fort Mill             SC 29715
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  ✔
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                                                       7 ___
                                                           Last 4 digits of account number ___  3 ___
                                                                                                    0 ___
                                                                                                        6
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    145,545.00
                                                                                                                           $________________


fficial Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             3
                                                                                                                                                               page 1 of ___
                   Case 16-04940                 Doc 1       Filed 02/16/16 Entered 02/16/16 16:54:55                                       Desc Main
                  Dorothy                                     Document
                                                                   McKinnie Page 24 of 72
 Debtor 1         _______________________________________________________                               Case number (if known)_____________________________________
                   First Name    Middle Name         Last Name




               Additional Page                                                                                       Column A               Column B              Column C
Part 1:                                                                                                              Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                             that supports this    portion
                                                                                                                     Do not deduct the
               by 2.4, and so forth.                                                                                 value of collateral.   claim                 If any
2.3 Onemain Financial                                Describe the property that secures the claim:                         18,509.76
                                                                                                                     $_________________           7,000.00 $____________
                                                                                                                                            $________________ 11,509.76
    ______________________________________
    Creditor’s Name
     6801 Colwell Blvd.
    ______________________________________           2008 Chrysler PT Cruiser
    Number            Street

     C/S Care Department
    ______________________________________           As of the date you file, the claim is: Check all that apply.
     Irving                TX 75036 
    ______________________________________                Contingent
    City                   State ZIP Code                Unliquidated
                                                         Disputed
  Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  ✔
      Debtor 1 only                                 ✔
                                                     ■
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt

  Date debt was incurred ____________                                                 5 ___
                                                     Last 4 digits of account number ___ 2 ___
                                                                                            7 ___
                                                                                               8

22.5 Chase Auto Finance                              Describe the property that secures the claim:                          2,100.00 $________________
                                                                                                                     $_________________   20,000.00 $____________
                                                                                                                                                       1,000.00
    ______________________________________
    Creditor’s Name
     P.O. Box 78050
    ______________________________________           2016 Hyundai Elantra
    Number            Street

                                                     As of the date you file, the claim is: Check all that apply.
    ______________________________________
                                                         Contingent
     Phoenix               AZ 85062
    ______________________________________               Unliquidated
    City                         State    ZIP Code
                                                         Disputed
  Who owes the debt? Check one.
                                                     Nature of lien. Check all that apply.
  ✔
      Debtor 1 only
                                                     ✔
                                                         An agreement you made (such as mortgage or secured
  ✔
      Debtor 2 only                                      car loan)
  ✔
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
  ✔
      At least one of the debtors and another           Judgment lien from a lawsuit

      Check if this claim relates to a
                                                         Other (including a right to offset) ____________________
       community debt

  Date debt was incurred ____________                                                 7 ___
                                                     Last 4 digits of account number ___ 3 ___
                                                                                            9 ___
                                                                                               2

22. ______________________________________
     Springfleaf Consumer Loan, Inc.                 Describe the property that secures the claim:                          3,655.00 $________________
                                                                                                                     $_________________       250.00 $____________
                                                                                                                                                        3,405.00
    Creditor’s Name
     P.O. Box 64
    ______________________________________           Television
    Number            Street

    ______________________________________           As of the date you file, the claim is: Check all that apply.
     Evansville            IN 47701 
    ______________________________________                Contingent
    City                   State ZIP Code                Unliquidated
                                                         Disputed
  Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  ✔
      Debtor 1 only                                 ✔
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt
  Date debt was incurred ____________                                                 8 ___
                                                     Last 4 digits of account number ___ 3 ___
                                                                                            2 ___
                                                                                                1

                                                                                                          24,264.76
             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
             If this is the last page of your form, add the dollar value totals from all pages.                           169,809.76
             Write that number here:                                                                                 $_________________

                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2      3
                                                                                                                                                              ___ of ___
              Case 16-04940                Doc 1        Filed 02/16/16 Entered 02/16/16 16:54:55                               Desc Main
             Dorothy
                                                         Document
                                                              McKinnie
                                                                       Page 25 of 72
Debtor 1     _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



                              Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page 3      3
                                                                                                                                                  ___ of ___
                        Case 16-04940                  Doc 1         Filed 02/16/16 Entered 02/16/16 16:54:55                                    Desc Main
  Fill in this information to identify your case:                     Document     Page 26 of 72
      Debtor 1          Dorothy                                     McKinnie
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________
                                              Northern District    of __________
                                                                of Illinois
                                                          District

      Case number         ___________________________________________
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


  106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                 No                                                      Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      10
                                                                                                                                                             page 1 of ___
 Debtor 1
                      Case
                     Dorothy  16-04940 Doc 1 Filed McKinnie      02/16/16
                      _______________________________________________________
                                                                                           Entered 02/16/16      16:54:55 Desc Main
                                                                                                    Case number (if known)_____________________________________
                      First Name    Middle Name          Last Name   Document             Page 27 of 72
  Part 1:            Your PRIORITY Unsecured Claims Ʌ Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                            Total claim   Priority     Nonpriority
                                                                                                                                                  amount       amount


        ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
        Priority Creditor’s Name

        ____________________________________________                 When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                 As of the date you file, the claim is: Check all that apply.

        ____________________________________________
                                                                        Contingent
        City                                State   ZIP Code            Unliquidated
                                                                        Disputed
        Who incurred the debt? Check one.
              Debtor 1 only                                         Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                        Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
              At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
              Check if this claim is for a community debt               intoxicated
                                                                        Other. Specify _________________________________

        Is the claim subject to offset?
              No
              Yes


        ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
        Priority Creditor’s Name

        ____________________________________________                 When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                 As of the date you file, the claim is: Check all that apply.

        ____________________________________________
                                                                        Contingent
        City                                State   ZIP Code            Unliquidated
                                                                        Disputed
        Who incurred the debt? Check one.
              Debtor 1 only                                         Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                        Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
              At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
              Check if this claim is for a community debt               intoxicated
                                                                        Other. Specify _________________________________

        Is the claim subject to offset?
              No
              Yes


        ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
        Priority Creditor’s Name

        ____________________________________________                 When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                 As of the date you file, the claim is: Check all that apply.

        ____________________________________________
                                                                        Contingent
        City                                State   ZIP Code            Unliquidated
                                                                        Disputed
        Who incurred the debt? Check one.
              Debtor 1 only                                         Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                        Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
              At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
              Check if this claim is for a community debt               intoxicated
                                                                        Other. Specify _________________________________

        Is the claim subject to offset?
              No
              Yes


                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                       2 of ___
                                                                                                                                                              page __   10
 Debtor 1
                     Case
                     Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                     _______________________________________________________
                                                                                      Entered 02/16/16      16:54:55 Desc Main
                                                                                               Case number (if known)_____________________________________
                      First Name      Middle Name           Last Name   Document     Page 28 of 72
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.1
        Capital One / Menards
        _____________________________________________________________                                               2 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          8 ___
                                                                                                                             2
        Nonpriority Creditor’s Name
                                                                                                                                                                     893.00
                                                                                                                                                           $__________________
                                                                                   When was the debt incurred?           ____________
        P.O. Box 30253
        _____________________________________________________________
        Number             Street

        Salt Lake City                      UT         84130
        _____________________________________________________________
        City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                      Contingent
        Who incurred the debt? Check one.                                             Unliquidated
        ✔
              Debtor 1 only                                                          Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                Student loans

              Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
        Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
        ✔
              No                                                                  ✔
                                                                                                      Credit Card Purchases
                                                                                       Other. Specify ______________________________________
              Yes

4.2     Chase Bank USA                                                                                              5 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          4 ___
                                                                                                                             5                                       299.00
                                                                                                                                                           $__________________
        _____________________________________________________________
        Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
        P.O. box 15298
        _____________________________________________________________
        Number             Street
        Wilmington                          DE         19850                       As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                             State          ZIP Code
                                                                                      Contingent
        Who incurred the debt? Check one.                                             Unliquidated
        ✔
              Debtor 1 only
                                                                                      Disputed

              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                             that you did not report as priority claims
        Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
        ✔
              No
                                                                                   ✔
                                                                                                      Credit Card Purchases
                                                                                       Other. Specify ______________________________________

              Yes

4.3
        City of Chicago Water Department
        _____________________________________________________________                                                7 ___
                                                                                   Last 4 digits of account number ___   8 ___1 ___
                                                                                                                                  3                                  259.00
        Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                   When was the debt incurred?           ____________
        333 S. State st.
        _____________________________________________________________
        Number             Street
        Chicago                             IL         60604
        _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
        City                                             State          ZIP Code

                                                                                      Contingent
        Who incurred the debt? Check one.
                                                                                      Unliquidated
        ✔ Debtor 1 only
                                                                                     Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
         At least one of the debtors and another
                                                                                      Student loans
              Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
        Is the claim subject to offset?
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
        ✔ No
                                                                                  ✔
                                                                                                      Utility
                                                                                       Other. Specify ______________________________________
         Yes


                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                         3 of 10
                                                                                                                                                                  page __   ___
 Debtor 1
                   Case
                   Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                   _______________________________________________________
                                                                                 Entered 02/16/16      16:54:55 Desc Main
                                                                                          Case number (if known)_____________________________________
                    First Name        Middle Name      Last Name   Document     Page 29 of 72
  Part 2:        Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                Total claim


4.4                                                                                                              7 ___
                                                                                                                    0 ___
                                                                                                                       8 ___
                                                                                                                          4
                                                                                Last 4 digits of account number ___                                          204.00
        Comcast
        _____________________________________________________________                                                                                   $____________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 3002
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Southeastern                        PA         19398
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Cable
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

4.5
        Comcast                                                                                                  7 ___
                                                                                Last 4 digits of account number ___ 0 ___
                                                                                                                       8 ___
                                                                                                                          4                                  408.00
                                                                                                                                                        $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        1255 W. North Ave.
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Chicago                             L          60622
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        ✔ Debtor 1 only
        
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Cable
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

4.6                                                                                                                                                          248.00
                                                                                                                                                        $____________
        ComEd                                                                                                    5 ___
                                                                                Last 4 digits of account number ___ 0 ___
                                                                                                                       6 ___
                                                                                                                          0
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 6111
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Carol Stream                        IL         60197
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Utility
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes



                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
                                                                                                                                                        page __   10
 Debtor 1
                   Case
                   Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                   _______________________________________________________
                                                                                 Entered 02/16/16      16:54:55 Desc Main
                                                                                          Case number (if known)_____________________________________
                    First Name        Middle Name      Last Name   Document     Page 30 of 72
  Part 2:        Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                Total claim


4.7                                                                                                              1 ___
                                                                                                                    7 ___
                                                                                                                       6 ___
                                                                                                                          2
                                                                                Last 4 digits of account number ___                                        1,517.00
        Makes Cents, LLC - Maxlend
        _____________________________________________________________                                                                                   $____________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 639
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Parshall                            ND         58770
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Personal Loan
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

4.8
        Montery Financial serices                                                                                4 ___
                                                                                Last 4 digits of account number ___ 6 ___
                                                                                                                       7 ___
                                                                                                                          9                                1,012.00
                                                                                                                                                        $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        4095 Avenida De LA
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Oceanside                           CA         92056
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        ✔ Debtor 1 only
        
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Personal Loan
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

4.9                                                                                                                                                        1,100.00
                                                                                                                                                        $____________
        Niiwin, LLC D/B/A www.Lendgreen.com                                                                      7 ___
                                                                                Last 4 digits of account number ___ 4 ___
                                                                                                                       0 ___
                                                                                                                          0
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 221
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Lac Du Flambeau                     WI         54538
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Personal Loan
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes



                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
                                                                                                                                                        page __   10
 Debtor 1
                   Case
                   Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                   _______________________________________________________
                                                                                      Entered 02/16/16      16:54:55 Desc Main
                                                                                               Case number (if known)_____________________________________
                    First Name        Middle Name           Last Name   Document     Page 31 of 72
  Part 2:         Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                     Total claim


.10                                                                                                                   2 ___
                                                                                                                         3 ___
                                                                                                                            7 ___
                                                                                                                               3
                                                                                     Last 4 digits of account number ___                                          925.00
        PayPal Credit
        _____________________________________________________________                                                                                        $____________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        P.O. Box 105658
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Atlanta                             GA         30348
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
              Debtor 1 only
              Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
                                                                                        Student loans
              At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔
                                                                                                       Credit Card Purchases
                                                                                         Other. Specify________________________________
        ✔ No
        
         Yes

.11
        Penn Credit                                                                                                   8 ___
                                                                                     Last 4 digits of account number ___ 6 ___
                                                                                                                            6 ___
                                                                                                                               8                                  553.01
                                                                                                                                                             $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        916 S. 14th St.
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Harrisburg                          PA         17608
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
              Debtor 1 only
              Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
                                                                                        Student loans
              At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔
                                                                                                       Medical Bills
                                                                                         Other. Specify________________________________
        ✔ No
        
         Yes

.12                                                                                                                                                               307.00
                                                                                                                                                             $____________
        Peoples Gas                                                                                                   8 ___
                                                                                     Last 4 digits of account number ___ 6 ___
                                                                                                                            7 ___
                                                                                                                               3
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        P.O. Box 19100
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Green Bay                           WI         54307
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                    Student loans
         At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔
                                                                                                       Utility
                                                                                         Other. Specify________________________________
        ✔ No
        
         Yes



                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                    6 of ___
                                                                                                                                                             page __   10
 Debtor 1
                   Case
                   Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                   _______________________________________________________
                                                                                 Entered 02/16/16      16:54:55 Desc Main
                                                                                          Case number (if known)_____________________________________
                    First Name        Middle Name      Last Name   Document     Page 32 of 72
  Part 2:        Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                Total claim


.13                                                                                                              3 ___
                                                                                                                    9 ___
                                                                                                                       9 ___
                                                                                                                          2
                                                                                Last 4 digits of account number ___                                        1,545.00
        Safeco Insurance
        _____________________________________________________________                                                                                   $____________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        Oak Brook Insurance agency
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Chicago                             IL         60707
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Insurance
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

.14
        T-Mobile                                                                                                 3 ___
                                                                                Last 4 digits of account number ___ 9 ___
                                                                                                                       6 ___
                                                                                                                          8                                  624.00
                                                                                                                                                        $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 742596
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Cincinnati                          OH         45274
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        ✔ Debtor 1 only
        
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                         ✔
                                                                                                  Phone
                                                                                    Other. Specify________________________________
        ✔ No
        
         Yes

.15                                                                                                                                                       10,467.00
                                                                                                                                                        $____________
                                                                                Last 4 digits of account number ___ ___ ___ ___
        US Department of Education
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                When was the debt incurred?          ____________
        P.O. Box 0
        _____________________________________________________________
        Number           Street
                                                                                As of the date you file, the claim is: Check all that apply.
        Greenville                          TX         75403
        _____________________________________________________________
        City                                        State          ZIP Code        Contingent
                                                                                   Unliquidated
        Who incurred the debt? Check one.                                          Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                               Student loans
         At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
              Check if this claim is for a community debt
                                                                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                            Other. Specify________________________________
        ✔ No
        
         Yes



                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    7 of ___
                                                                                                                                                        page __   10
 Debtor 1
                     Case
                     Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
                     _______________________________________________________
                                                                                      Entered 02/16/16      16:54:55 Desc Main
                                                                                               Case number (if known)_____________________________________
                      First Name      Middle Name           Last Name   Document     Page 33 of 72
  Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                     Total claim


.16                                                                                                                   5 ___
                                                                                                                         2 ___
                                                                                                                            4 ___
                                                                                                                               6
                                                                                     Last 4 digits of account number ___                                           50.00
        Vivent
        _____________________________________________________________                                                                                        $____________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        62992 Collection Drive
        _____________________________________________________________
        Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Chicago                             IL
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                    Student loans
         At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔
                                                                                                       Alarm
                                                                                         Other. Specify________________________________
        ✔ No
        
         Yes

.17
        Wells Fargo Card Services                                                                                     4 ___
                                                                                     Last 4 digits of account number ___ 4 ___
                                                                                                                            5 ___
                                                                                                                               0                                2,951.00
                                                                                                                                                             $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        P.O. Box 14517
        _____________________________________________________________
        Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Des Moines                          IA         50306
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        ✔ Debtor 1 only
        
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                    Student loans
         At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔
                                                                                                       Credit Card Purchases
                                                                                         Other. Specify________________________________
        ✔ No
        
         Yes

                                                                                                                                                             $____________
                                                                                     Last 4 digits of account number ___ ___ ___ ___
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                             State          ZIP Code        Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.                                               Disputed
              Debtor 1 only
              Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
                                                                                        Student loans
              At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
              Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 Other. Specify________________________________
              No
              Yes




                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                    8 of ___
                                                                                                                                                             page __   10
 Debtor 1
                 Case
                 Dorothy  16-04940 Doc 1 Filed McKinnie      02/16/16
                  _______________________________________________________
                                                                                    Entered 02/16/16      16:54:55 Desc Main
                                                                                             Case number (if known)_____________________________________
                  First Name    Middle Name           Last Name   Document         Page 34 of 72
  Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
      2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
      additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
        _____________________________________________________
                                                                             Last 4 digits of account number ___ ___ ___ ___
        _____________________________________________________
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________                Claims

        _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________
                                                                             Claims

        _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________
                                                                             Claims

        _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________
                                                                             Claims

        _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________
                                                                             Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________
                                                                             Claims

        _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
        City                                  State               ZIP Code


        _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
        Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
        _____________________________________________________                Claims

        _____________________________________________________
        City                                  State               ZIP Code
                                                                             Last 4 digits of account number ___ ___ ___ ___


                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              page 9__ of 10
                                                                                                                                                                  ___
Debtor 1
            Case
            Dorothy 16-04940 Doc 1 Filed McKinnie      02/16/16
            _______________________________________________________
                                                                               Entered 02/16/16      16:54:55 Desc Main
                                                                                        Case number (if known)_____________________________________
               First Name    Middle Name         Last Name   Document         Page 35 of 72
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                             0.00
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                    10,467.00
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.                   21,895.00
                                                                                      + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                       32,362.00
                                                                                         $_________________________




                                        Schedule E/F: Creditors Who Have Unsecured Claims                                   page 10    10
                                                                                                                                               __ of ___
                  Case 16-04940               Doc 1         Filed 02/16/16 Entered 02/16/16 16:54:55                            Desc Main
                                                             Document     Page 36 of 72
 Fill in this information to identify your case:

 Debtor               Dorothy                                     McKinnie
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


                                         Northern District
 United States Bankruptcy Court for the: __________ Districtof
                                                             ofIllinois
                                                                ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                  Case 16-04940                     Doc 1                 Filed 02/16/16 Entered 02/16/16 16:54:55                Desc Main
                                                                           Document     Page 37 of 72
 Fill in this information to identify your case:

 Debtor 1          Dorothy                                     McKinnie
                   __________________________________________________________________
                     First Name                     Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                  Last Name


                                         Northern District
 United States Bankruptcy Court for the: __________ DistrictofofIllinois
                                                                 ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                            Schedule D, line ______
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number            Street                                                                           Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code



Official Form 106H                                                            Schedule H: Your Codebtors                                                    1
                                                                                                                                                  page 1 of ___
                  Case 16-04940            Doc 1          Filed 02/16/16 Entered 02/16/16 16:54:55                           Desc Main
                                                           Document     Page 38 of 72
 Fill in this information to identify your case:


 Debtor 1           Dorothy                                     McKinnie
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Illinois
                                                      District of ___________

 Case number         ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
                  106I                                                                        MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                         Employment status             ✔ Employed
                                                                                                                        Employed
    information about additional
    employers.                                                          Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                   Administrative assistant
                                                                      __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             Garfield Counseling
                                                                     __________________________________           __________________________________


                                         Employer’s address           4132 W. Madison St.
                                                                     _______________________________________    ________________________________________
                                                                       Number Street                             Number    Street

                                                                     _______________________________________    ________________________________________

                                                                     _______________________________________    ________________________________________

                                                                      Chicago       IL             60624
                                                                     _______________________________________    ________________________________________
                                                                      City             State ZIP Code             City                State ZIP Code

                                         How long employed there?          _______
                                                                           5 years                                 _______
                                                                                                                    5 years

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       3,816.65
                                                                                              $___________              $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.       3,816.65
                                                                                              $__________            $____________




Official Form 106I                                               Schedule I: Your Income                                                      page 1
                   Case 16-04940                       Doc 1             Filed 02/16/16 Entered 02/16/16 16:54:55                                         Desc Main
                                                                          Document     Page 39 of 72
Debtor 1          Dorothy                                     McKinnie
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name        Middle Name                Last Name



                                                                                                                            For Debtor 1         For Debtor 2 or
                                                                                                                                                 non-filing spouse

    Copy line 4 here............................................................................................... Î 4.        3,816.65
                                                                                                                             $___________            $_____________

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                              5a.           653.06
                                                                                                                            $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                               5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                               5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                               5d.     $____________            $_____________
     5e. Insurance                                                                                                  5e.            15.17
                                                                                                                            $____________            $_____________
     5f. Domestic support obligations                                                                               5f.     $____________            $_____________

     5g. Union dues                                                                                                 5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                              5h.    + $____________       +   $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.           668.23
                                                                                                                            $____________            $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.         3,148.42
                                                                                                                            $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                            $____________            $_____________
            monthly net income.                                                                                     8a.
      8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                            $____________            $_____________
            settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                  8d.     $____________            $_____________
      8e. Social Security                                                                                           8e.     $____________            $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

      8g. Pension or retirement income                                                                              8g.     $____________            $_____________

      8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.     $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                3,148.42
                                                                                                                            $___________     +       $_____________     =        3,148.42
                                                                                                                                                                            $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                       10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                      11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.
                                                                                                                                                                                 3,148.42
                                                                                                                                                                            $_____________
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      ✔
           No.
           Yes. Explain:


                                                                        Schedule I: Your Income                                                                  page 2
                    Case 16-04940              Doc 1          Filed 02/16/16 Entered 02/16/16 16:54:55                                     Desc Main
                                                               Document     Page 40 of 72
   Fill in this information to identify your case:

   Debtor 1          Dorothy                                     McKinnie
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Southern District
                                           __________        of Illinois
                                                       District of __________                                       expenses as of the following date:
                                                                                                                    ________________
   Case number         ___________________________________________                                                  MM / DD / YYYY
    (If known)




                           106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                   No                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’                                                             Daughter                                  18               No
                                                                                             _________________________                ________
    names.
                                                                                                                                                    ✔
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include                 ✔
                                                No
    expenses of people other than
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     1,005.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.                    100.00
                                                                                                                                        $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.     $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
                  Case 16-04940               Doc 1        Filed 02/16/16 Entered 02/16/16 16:54:55                     Desc Main
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 Debtor 1         Dorothy                                    McKinnie
                  _______________________________________________________                  Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
  5. Additional mortgage payments for your residence, such as home equity loans                               5.


  6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                   150.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                    30.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   120.00
                                                                                                                     $_____________________
      6d.                   Cable
            Other. Specify: _______________________________________________                                   6d.                   130.00
                                                                                                                     $_____________________

  7. Food and housekeeping supplies                                                                           7.                    600.00
                                                                                                                     $_____________________

  8. Childcare and children’s education costs                                                                 8.     $_____________________
  9. Clothing, laundry, and dry cleaning                                                                      9.                     20.00
                                                                                                                     $_____________________
10. Personal care products and services                                                                       10.    $_____________________
11. Medical and dental expenses                                                                               11.                   200.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    120.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.                    7.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                  104.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  130.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.    $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.                  410.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                     $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.   $_____________________

      20b. Real estate taxes                                                                                  20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________



                                                  Schedule J: Your Expenses                                                   page 2
                     Case 16-04940               Doc 1      Filed 02/16/16 Entered 02/16/16 16:54:55                         Desc Main
                                                             Document     Page 42 of 72
 Debtor 1           Dorothy                                    McKinnie
                    _______________________________________________________                     Case number (if known)_____________________________________
                     First Name    Middle Name      Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  3,126.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.     $_____________________



23. Calculate your monthly net income.
                                                                                                                                       3,148.42
                                                                                                                           $_____________________
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.    Copy your monthly expenses from line 22c above.                                                     23b.                 3,126.00
                                                                                                                         – $_____________________
      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                          22.42
                                                                                                                           $_____________________
              The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔
           No.
           Yes.       Explain here:




                                                   Schedule J: Your Expenses                                                       page 3
                       Case 16-04940               Doc 1       Filed 02/16/16 Entered 02/16/16 16:54:55                               Desc Main
                                                                Document     Page 43 of 72
Fill in this information to identify your case:

Debtor 1           Dorothy                                     McKinnie
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                        __________
United States Bankruptcy Court for the: Northern District of Illinois
                                                     District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



                            106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       ✔ No
       
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    8     ______________________________________________             8
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules
                    Case 16-04940             Doc 1         Filed 02/16/16 Entered 02/16/16 16:54:55                         Desc Main
                                                             Document     Page 44 of 72
   Fill in this information to identify your case:

   Debtor 1          Dorothy                                     McKinnie
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


                                           __________
   United States Bankruptcy Court for the: Northern District of Illinois
                                                        District of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                          Check if this is an
                                                                                                                                          amended filing




                           107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        ✔ Married
        
         Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?
       ✔
            No
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1      Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                               lived there


                                                                                       Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                            To    ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State ZIP Code


                                                                                       Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                            To    ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ✔ No
       
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
                  Case 16-04940                  Doc 1        Filed 02/16/16 Entered 02/16/16 16:54:55                                     Desc Main
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Debtor 1         Dorothy                                     McKinnie
                  _______________________________________________________                                 Case number (if known)_____________________________________
                  First Name     Middle Name          Last Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
     ✔
           Yes. Fill in the details.

                                                            Debtor 1                                               Debtor 2

                                                            Sources of income             Gross income             Sources of income           Gross income
                                                            Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                          exclusions)                                          exclusions)

                                                             ✔
                                                                 Wages, commissions,                                 Wages, commissions,
             From January 1 of current year until
                                                                  bonuses, tips
                                                                                                  3,000.00
                                                                                          $________________            bonuses, tips           $________________
             the date you filed for bankruptcy:
                                                                 Operating a business                                Operating a business

                                                             ✔
                                                                 Wages, commissions,                                 Wages, commissions,
             For last calendar year:
                                                                  bonuses, tips                  39,000.00
                                                                                          $________________            bonuses, tips           $________________
             (January 1 to December 31, 2015
                                        _________)               Operating a business                                Operating a business
                                               YYYY



             For the calendar year before that:                  Wages, commissions,                                 Wages, commissions,
                                                                  bonuses, tips                                        bonuses, tips
                                                                                                 39,000.00
                                                                                          $________________                                    $________________
             (January 1 to December 31, 2014
                                        _________)               Operating a business                                Operating a business
                                               YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      ✔ No
      
       Yes. Fill in the details.
                                                             Debtor 1                                               Debtor 2

                                                             Sources of income            Gross income from         Sources of income          Gross income from
                                                             Describe below.              each source               Describe below.            each source
                                                                                          (before deductions and                               (before deductions and
                                                                                          exclusions)                                          exclusions)


                                                  __________________                     $_________________ _____________________ $_________________
             From January 1 of current year until
             the date you filed for bankruptcy:   __________________                     $_________________ _____________________ $_________________
                                                           __________________            $_________________ _____________________ $_________________


             For last calendar year:                       __________________            $_________________ _____________________ $_________________

             (January 1 to December 31,2015
                                       ______)             __________________            $_________________ _____________________ $_________________
                                               YYYY
                                                           __________________            $_________________ _____________________ $_________________



             For the calendar year before that:            __________________            $_________________ _____________________ $_________________
             (January 1 to December 31,2015
                                       ______)             __________________            $_________________ _____________________ $_________________
                                               YYYY
                                                           __________________            $_________________ _____________________ $_________________




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                Case 16-04940                     Doc 1        Filed 02/16/16 Entered 02/16/16 16:54:55                          Desc Main
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Debtor 1       Dorothy                                    McKinnie
               _______________________________________________________                              Case number (if known)_____________________________________
                First Name       Middle Name           Last Name




  Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                “incurred by an individual primarily for a personal, family, or household purpose.”
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

   ✔
          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.
                ✔
                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                       Wells  Fargo Home Mortgage
                       ____________________________________ 01/01/2016
                                                             _________                        3,015.00 $__________________
                                                                                     $_________________       145,545.00                 ✔ Mortgage
                                                                                                                                         
                       Creditor’s Name
                                                                                                                                          Car
                       7255  Baymeadows Way
                       ____________________________________           12/01/2015
                                                                      _________
                       Number    Street                                                                                                   Credit card
                       P.O.  Box 10355                                11/01/2015                                                          Loan repayment
                       ____________________________________           _________
                                                                                                                                          Suppliers or vendors
                       Des  Moines       IA      50306
                       ____________________________________
                       City                    State       ZIP Code                                                                       Other ____________


                       Chase   Auto Finance
                       ____________________________________ 01/01/2016
                                                             _________                       1,230.00 $__________________
                                                                                     $_________________       21,000.00                   Mortgage
                       Creditor’s Name
                                                                                                                                         ✔ Car
                                                                                                                                         
                       P.O.  Box 78050                      12/01/2015
                       ____________________________________
                       Number    Street
                                                             _________                                                                    Credit card
                                                                      11/01/2015
                                                                                                                                          Loan repayment
                       ____________________________________            _________
                                                                                                                                          Suppliers or vendors
                       Phoenix           AZ      85062
                       ____________________________________
                       City                    State       ZIP Code
                                                                                                                                          Other ____________



                       ____________________________________           _________      $_________________ $__________________               Mortgage
                       Creditor’s Name
                                                                                                                                          Car
                       ____________________________________
                       Number    Street
                                                                      _________                                                           Credit card
                                                                                                                                          Loan repayment
                       ____________________________________           _________
                                                                                                                                          Suppliers or vendors
                       ____________________________________
                       City                    State       ZIP Code
                                                                                                                                          Other ____________



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                    Case 16-04940                  Doc 1          Filed 02/16/16 Entered 02/16/16 16:54:55                            Desc Main
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Debtor 1         Dorothy                                     McKinnie
                  _______________________________________________________                             Case number (if known)_____________________________________
                    First Name      Middle Name           Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.
      ✔
           No
           Yes. List all payments to an insider.
                                                                         Dates of      Total amount     Amount you still    Reason for this payment
                                                                         payment       paid             owe


             ____________________________________________              _________      $____________ $____________
             Insider’s Name


             ____________________________________________              _________
             Number        Street


             ____________________________________________              _________

             ____________________________________________
             City                                 State   ZIP Code



             ____________________________________________                             $____________ $____________
                                                                       _________
             Insider’s Name

             ____________________________________________              _________
             Number        Street


             ____________________________________________              _________

             ____________________________________________
             City                                 State   ZIP Code


  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ✔
           No
           Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount     Amount you still    Reason for this payment
                                                                        payment        paid             owe
                                                                                                                            Include creditor’s name

             ____________________________________________              _________      $____________ $____________
             Insider’s Name


             ____________________________________________              _________
             Number        Street


             ____________________________________________              _________

             ____________________________________________
             City                                 State   ZIP Code




             ____________________________________________                             $____________ $____________
                                                                       _________
             Insider’s Name


             ____________________________________________              _________
             Number        Street


             ____________________________________________              _________

             ____________________________________________
             City                                 State   ZIP Code




                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
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Debtor 1         Dorothy                                    McKinnie
                 _______________________________________________________                                         Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Part 4:        Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.
      ✔
           No
           Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                Status of the case



             Case title_____________________________
                                                                                                          ________________________________________
                                                                                                          Court Name
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
             ____________________________________                                                         ________________________________________
                                                                                                          Number    Street                                   Concluded

             Case number ________________________                                                         ________________________________________
                                                                                                          City                   State   ZIP Code




             Case title_____________________________
                                                                                                          ________________________________________
                                                                                                          Court Name
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
             ____________________________________                                                         ________________________________________
                                                                                                          Number    Street                                   Concluded

             Case number ________________________                                                         ________________________________________
                                                                                                          City                   State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.
      ✔ No. Go to line 11.
      
       Yes. Fill in the information below.
                                                                                Describe the property                                     Date         Value of the property



                  _________________________________________                                                                               __________    $______________
                  Creditor’s Name


                  _________________________________________
                  Number       Street                                           Explain what happened

                                                                                    Property was repossessed.
                  _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                  _________________________________________
                  City                                State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________     $______________
                  _________________________________________
                  Creditor’s Name


                  _________________________________________
                  Number       Street
                                                                                Explain what happened

                  _________________________________________                         Property was repossessed.
                                                                                    Property was foreclosed.
                  _________________________________________
                  City                                State   ZIP Code
                                                                                    Property was garnished.
                                                                                    Property was attached, seized, or levied.



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                    _______________________________________________________                               Case number (if known)_____________________________________
                    First Name     Middle Name            Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      ✔
           No
           Yes. Fill in the details.

                                                                  Describe the action the creditor took                         Date action      Amount
                                                                                                                                was taken
            ______________________________________
            Creditor’s Name


            ______________________________________                                                                             ____________ $________________
            Number        Street


            ______________________________________

            ______________________________________
            City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
      ✔
           No
           Yes

  Part 5:          List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      ✔
           No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
             per person                                                                                                         the gifts



            ______________________________________                                                                              _________          $_____________
            Person to Whom You Gave the Gift


            ______________________________________                                                                              _________          $_____________

            ______________________________________
            Number        Street


            ______________________________________
            City                           State   ZIP Code


            Person’s relationship to you    ______________


            Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
            per person                                                                                                          the gifts


            ______________________________________                                                                              _________          $_____________
            Person to Whom You Gave the Gift


            ______________________________________                                                                              _________          $_____________


            ______________________________________
            Number        Street


            ______________________________________
            City                           State   ZIP Code


            Person’s relationship to you ______________


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Debtor 1           Dorothy                                     McKinnie
                    _______________________________________________________                                       Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

      ✔
           No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
             that total more than $600                                                                                                     contributed



            _____________________________________                                                                                          _________         $_____________
            Charity’s Name


            _____________________________________                                                                                          _________         $_____________


            _____________________________________
            Number        Street



            _____________________________________
            City            State       ZIP Code




  Part 6:           List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

      ✔
           No
           Yes. Fill in the details.

             Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
             how the loss occurred                                                                                                         loss              lost
                                                                      Include the amount that insurance has paid. List pending insurance
                                                                      claims on line 33 of Schedule A/B: Property.


                                                                                                                                           _________         $_____________




  Part 7:          List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
      ✔
           Yes. Fill in the details.

                                                                      Description and value of any property transferred                    Date payment or   Amount of payment
             Charles  W. Brace
             ___________________________________                                                                                           transfer was
             Person Who Was Paid                                                                                                           made

             150  N. Michigan Ave.                                  Check $1,000.00
             ___________________________________
             Number        Street                                                                                                          01/22/2016
                                                                                                                                           _________               1,000.00
                                                                                                                                                             $_____________

             Ste. 2800
             ___________________________________
                                                                                                                                           _________         $_____________
             Chicago             IL     60601
             ___________________________________
             City                         State    ZIP Code

             bracelaw@gmail.com
             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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               _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      
       Yes. Fill in the details.
                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ✔ No
      
       Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                  _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
      are a beneficiary? (These are often called asset-protection devices.)

      ✔
           No
           Yes. Fill in the details.

                                                                    Description and value of the property transferred                                       Date transfer
                                                                                                                                                            was made


                                                                                                                                                            _________
            Name of trust __________________________


            ______________________________________




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
      ✔
           No
           Yes. Fill in the details.

                                                                    Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                        instrument                closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred
             ____________________________________
                                                                                                        
             Name of Financial Institution
                                                                    XXXX–___ ___ ___ ___                  Checking                _________              $___________
             ____________________________________
             Number       Street
                                                                                                         Savings
             ____________________________________                                                        Money market
             ____________________________________
                                                                                                         Brokerage
             City                       State    ZIP Code
                                                                                                         Other__________

             ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
             Name of Financial Institution
                                                                                                         Savings
             ____________________________________
             Number       Street                                                                         Money market
             ____________________________________                                                        Brokerage
             ____________________________________                                                        Other__________
             City                       State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
      ✔ No
      
       Yes. Fill in the details.
                                                                    Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                   No
             ____________________________________
             Name of Financial Institution
                                                                   _______________________________________
                                                                   Name
                                                                                                                                                                   Yes

             ____________________________________                  _______________________________________                                                      
             Number       Street                                   Number   Street

             ____________________________________
                                                                   _______________________________________
                                                                   City       State      ZIP Code
             ____________________________________
             City                       State    ZIP Code



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                     _______________________________________________________                                              Case number (if known)_____________________________________
                     First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     ✔
           No
           Yes. Fill in the details.
                                                                      Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                           have it?


              ___________________________________                     _______________________________________                                                               No
              Name of Storage Facility                                Name
                                                                                                                                                                            Yes
              ___________________________________                     _______________________________________                                                              
              Number        Street                                    Number    Street

              ___________________________________                     _______________________________________
                                                                      City State ZIP Code
              ___________________________________
              City                        State     ZIP Code



  Part 9:              Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      ✔ No
      
       Yes. Fill in the details.
                                                                     Where is the property?                                    Describe the property                   Value


              ___________________________________
              Owner’s Name                                                                                                                                             $__________
                                                                    _________________________________________
              ___________________________________                   Number     Street
              Number        Street
                                                                    _________________________________________
              ___________________________________
                                                                    _________________________________________
              ___________________________________                   City                             State     ZIP Code
              City                        State     ZIP Code


  Part 10:             Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔
           No
           Yes. Fill in the details.
                                                                      Governmental unit                            Environmental law, if you know it                  Date of notice



             ____________________________________                    _______________________________                                                                   _________
             Name of site                                            Governmental unit

             ____________________________________                    _______________________________
             Number        Street                                    Number    Street

                                                                     _______________________________
             ____________________________________                    City                   State   ZIP Code


             ____________________________________
             City                        State     ZIP Code




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                  _______________________________________________________                                               Case number (if known)_____________________________________
                    First Name      Middle Name              Last Name




  25. Have you notified any governmental unit of any release of hazardous material?

      ✔ No
      
       Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, if you know it                   Date of notice


             ____________________________________ _______________________________
             Name of site                                          Governmental unit
                                                                                                                                                                         _________

             ____________________________________ _______________________________
             Number        Street                                  Number     Street


             ____________________________________ _______________________________
                                                                   City                  State    ZIP Code

             ____________________________________
             City                        State    ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ✔
           No
           Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                         case

            Case title______________________________
                                                                     ________________________________
                                                                     Court Name
                                                                                                                                                                          Pending
            ______________________________________
                                                                                                                                                                          On appeal
                                                                     ________________________________
                                                                     Number     Street                                                                                   Concluded

            ______________________________________
                                                                     ________________________________
            Case number                                              City                        State   ZIP Code                                                        

  Part 11:            Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

      ✔ No. None of the above applies. Go to Part 12.
      
       Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                               Employer Identification number
             ____________________________________                                                                                      Do not include Social Security number or ITIN.
             Business Name


             ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
             Number        Street
                                                                     Name of accountant or bookkeeper                                  Dates business existed
             ____________________________________

                                                                                                                                       From      _______ To _______
             ____________________________________
             City                        State    ZIP Code

                                                                     Describe the nature of the business                               Employer Identification number
             ____________________________________                                                                                      Do not include Social Security number or ITIN.
             Business Name


             ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
             Number        Street
                                                                     Name of accountant or bookkeeper                                  Dates business existed
             ____________________________________

             ____________________________________
                                                                                                                                       From      _______ To _______
             City                        State    ZIP Code


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                  _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name      Middle Name          Last Name




                                                                                                                         Employer Identification number
                                                                 Describe the nature of the business
                                                                                                                         Do not include Social Security number or ITIN.
             ____________________________________
             Business Name
                                                                                                                         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
             ____________________________________
             Number        Street
                                                                 Name of accountant or bookkeeper                        Dates business existed

             ____________________________________

             ____________________________________                                                                        From     _______ To _______
             City                        State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                                 Date issued



             ____________________________________                ____________
             Name                                                MM / DD / YYYY


             ____________________________________
             Number        Street


             ____________________________________

             ____________________________________
             City                        State    ZIP Code




  Part 12:          Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.



       8     ______________________________________________                    8_____________________________
             Signature of Debtor 1                                                Signature of Debtor 2


             Date ________________                                                Date _________________

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       ✔
             No
             Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       ✔ No
       
        Yes. Name of person_____________________________________________________________.                        Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                  Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1           Dorothy                                     McKinnie
                  __________________________________________________________________
                    First Name                Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name              Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of Illinois
                                                     District of __________

Case number         ___________________________________________                                                                            Check if this is an
 (If known)                                                                                                                                   amended filing



                          108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                               
                                                                                   ✔ Surrender the property.                          ✔ No
                                                                                                                                      
          name:            Onemain Financial
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property
                                 2008 Chrysler PT Cruiser                           Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________


         Creditor’s
                           Chase Auto Finance
                                                                                    Surrender the property.                          
                                                                                                                                      ✔ No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of                                                            ✔ Retain the property and enter into a
         property
                                 2016 Hyundai Elantra                              
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s
                           Wells Fargo
                                                                                    Surrender the property.                          
                                                                                                                                      ✔ No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
                                 Single Family Home, 1067 Sq Ft.                   ✔ Retain the property and enter into a
                                                                                   
         property
         securing debt:          3145 N. Oak Park Ave                                 Reaffirmation Agreement.
                                 Chicago, IL 60634                                  Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s
                           Wells Fargo
                                                                                    Surrender the property.                          
                                                                                                                                      ✔ No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
                                 Single Family Home, 1067 Sq Ft.                   ✔ Retain the property and enter into a
                                                                                   
         property
         securing debt:          3145 N. Oak Park Ave.                                Reaffirmation Agreement.
                                 Chicago, IL 60634                                  Retain the property and [explain]: __________
                                                                                      ______________________________________


  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
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                    ______________________________________________________                           Case number (If known)_____________________________________
                    First Name          Middle Name      Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                     Will the lease be assumed?

       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                       No
       Description of leased                                                                                                 Yes
       property:


       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:
   
       Lessor’s name:                                                                                                       No
                                                                                                                             Yes
       Description of leased
       property:




   Part 3:          Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   8    ___________________________________________                  8   ___________________________________________
       Signature of Debtor 1                                              Signature of Debtor 2

       Date _________________                                             Date _________________
             MM /     DD     /   YYYY                                          MM /   DD /   YYYY




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11— Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12— Voluntary repayment plan
                  for family farmers or                         may deny your discharge.
                  fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13— Voluntary repayment plan
                  for individuals with regular                  debts are not discharged under the law.
                  income                                        Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:

Chapter 13: Repayment plan for                                      domestic support obligations,
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.                                       certain long-term secured debts.



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                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
Make sure the court has your                                    In Alabama and North Carolina, go to:
mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


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                   Capital One / Menards
                   P.O. Box 302 53
                   Salt Lake City, UT 84130

                   Chase Auto Finance
                   P.O. Box 78050
                   Phoenix, AZ 85062

                   Chase Bank USA
                   P.O. Box 15298
                   Wilmington, DE 19850

                   City of Chicago Water Department
                   333. S. State St.
                   Chicago, IL 60604

                   Comcast
                   P.O. Box 3002
                   Southeastern, PA 19398

                   Comcast
                   1255 W. North Ave.
                   Chicago, IL 60622

                   ComEd
                   P.O. box 6111
                   Carol stream, IL 60197

                   Makes Cents LLC – Maxlend
                   P.O. Box 639
                   Parshall, ND 58770

                   Montery Financial Services
                   4095 Avenida De La
                   Oceanside, CA 92056

                   Niiwin, LLC d/b/a/ www. Lendgreen.com
                   P.O. Box 221
                   Lac Du Flambeau, WI 54538
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                   Onemain Financial
                   6801 Colwell Blvd.
                   C/S Care Department
                   Irving, TX 75036

                   Pay Pal Credit
                   P.O. Box 105658
                   Atlanta, GA 30348

                   Penn Credit
                   916 S. 14th St.
                   Harrisburg, PA 17608

                   Peoples Gas
                   P.O. Box 19100
                   Green Bay, WI 54307

                   Safeco Insurance
                   Oak Brook Insurance Agency
                   7158 W. Grand Ave.
                   Chicago, IL 60707

                   Springleaf Consumer Loan, Inc.
                   P.O. Box 64
                   Evansville, IN 47701

                   T-Mobile
                   P.O. Box 742596
                   Cincinnati, OH 45274-2596

                   U.S. Department of Education
                   P.O. Box 0
                   Greenville, TX 75403

                   Vivent
                   62992 Collection Drive
                   Chicago, IL 60693
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                   Wells Fargo Card Services
                   P.O. Box 14517
                   Des Moines, IA 50306

                   Wells Fargo Home Mortgage
                   7255 Baymeadows Way
                   P.O. Box 10355
                   Des Moines, IA 50306

                   Wells Fargo Home Mortgage
                   3476 Stateview Blvd.
                   Fort Mill, SC 29715
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